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         EXHIBIT 10
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~ USCUniversityof                                                                                                                                                        Freshman Profile and
\lWSouthernCalifornia                                                                                                                                              Admission Information
                                                                                                                                                                                                          2013 - 2014

Fall2013 EnteringFreshmanClass
New freshmen                                                    2,922

USC Mork Family Scholars(fulltuition + stipend)                     14
StampsLeadershipScholars(fulltuition + stipend)                      5
USC Trustee Scholars (full tuition)                                117
USC Presidential Scholars (half tuition)                           353
USC Dean's Scholars (quarter tuition)                              156
Recipients of other USC merit scholarships                          50

National Merit Scholars                                            249

Scions (legacy students)                                          21%
First generation college goers                                    13%

Gender
Male                                                              49%
Female                                                            51%

Race/Ethnicity
African American                                                   6%
Latino/ Hispanic                                                  14%
Native American/ Pacific Islander                                  2%
Asian / Asian American                                            19%
Caucasian                                                         43%
International (student visa holders)                              15%
                                                                                    Pre-Professional Emphases                                                            2014 FreshmanApplicationProcess
                                                                                    Pre-Medicine                                                       12%               USC accepts the Common Application exclusively
                                                                                    Pre-Law                                                             6%               and does not offer early action or early decision
Most Represented Public High Schools
                                                                                    Pre-Health (Dentistry, Pharmacy, PT, etc.)                          2%               admission programs.
PV Peninsula HS; Rolling Hills Estates, CA                           21             Pre-Accounting                                                      2%
Palos Ver des HS; Palos Verdes Estates, CA                           18             Pre-Teaching                                                        1%
Henry M. Gunn HS; Palo Alto, CA                                      18                                                                                                  Required Application Materials
Arcadia HS; Arcadia, CA                                              17                                                                                                  • Completed Common Application form and
Torrey Pines HS; San Diego, CA                                       16             Cost and Financial Aid                                                                 USC's Common Application Supplement
Saratoga HS; Saratoga, CA                                            15             USC practices need-blind admission. A student's                                      • Official high school transcripts, grades 9 - 11
                                                                                    ability to pay has no bearing on his or her                                            (and eventually, final high school transcripts)
Most Represented Independent/Parochial Schools                                      admission.                                                                           • Results from the SAT or ACT (with writing)
Harvard-Westlake; North Hollywood, CA          16                                                                                                                        • Essay and responses to short answer topics
Punahou School; Honolulu, HI                   16                                   USC has a long tradition of fully meeting the USC-                                   • Activities list
Loyola HS; Los Angeles, CA                     15                                   determined need of undergraduates through a                                          • Counselor/teacher recommendation form and letter
Flintridge Prep; La Canada, CA                 14                                   combination of merit scholarships, need-based
Taipei American School; Taipei, Taiwan         10                                   grants, Federal Wark-Study and loans.                                                Optional Application Materials
Campbell Hall; North Hollywood, CA             10                                                                                                                        • Supplemental materials and/ or auditions,
St Margaret'sEpiscoµtl; San Juan Capistrano,CA  9                                   Nearly 25% of the 2013 entering freshman class                                         depending upon major
                                                                                    received a merit-based scholarship from USC. Over                                    • TOEFL, IELTS or PTE Academic results
Most Represented Geographic Areas                                                   70% received some form of financial assistance.                                        (required for some applicants)
U.S. States                Outside U.S.                                                                                                                                  • Personal interview
California                 China (includes HK)                                      Although international students are not eligible to
Illinois                   India                                                    receive federal or USC need-based financial aid,
Texas                      Canada                                                   they may be awarded merit scholarships and/ or
New York                   South Korea                                              other departmental awards. AB 540 students may
Washington                 Italy                                                    be eligible to receive a Cal Grant.
Massachusetts              Taiwan
                                                                                    Info Used to Determine Financial Aid Eligibility
Academic Distribution                                                               • CSS PROFILE
Dornsife College of Letters, Arts and Sciences 26%                                  • FAFSA
Marshall School of Business                    21%                                  • Other specific information may be required,
USC's Arts Schools                             17%                                     depending upon family's situation
   (Architecture, Cinematic Arts, Dramatic Arts,
   Roski School of Fine Arts, Thornton School of                                    2013-14 Undergraduate Annual Cost of Attendance
   Music)                                                                           Tuition and fees                          $46,363
Viterbi School of Engineering                  15%                                  Room and board                            $12,902
Undecided/ Undeclared                          12%                                  Miscellaneous expenses and transportation $1,480
Annenberg School for Comm. & Journalism         6%                                  Books and supplies                         $1,500
Keck School of Medicine (Health Studies)         1%                                 Annual Total                             $62,245
Price School of Public Policy                    1%
Davis School of Gerontology                    < 1%
Occupational Therapy Program                   < 1%


      University             of Southern                California,             Office        of Admission                  · 700 Childs              Way,        Los Angeles,                California             90089-0911
Web     and      E-Mail:         www.usc.edu/admission                            · Facebook:             USC Admission                 · Twitter:          @USCAdmission                    · Telephone:               (213)      740-1111
      USC admits students of any race, color, national origin, ancestry, religion, gender, sexual orientation, age, physical disability or mental disability. USC's.full non-discrimination policy can befound on the Web at policies.usc.edu.




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